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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                        BILLINGS DIVISION

Stephen Listek, personal
representative of the Estate of
Michael Listek, deceased,
                                          No. ________________________
                         Plaintiff,

   vs.                                              COMPLAINT
                                               (and demand for jury trial)
O. Pete Council, MD and Sidney
Health Center,

                         Defendants.

         COMES NOW the Plaintiff, and for his claims against the Defendants

alleges as follows:

                                THE PARTIES

1. Stephen Listek is a resident of San Joaquin County, State of California. He

   is the personal representative of the Estate of Michael Listek, having been
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   appointed by order of the San Joaquin County probate court on July 12,

   2010. He is the father of Michael Listek. He brings these claims in his

   individual capacity as well as in his capacity as the representative of Michael

   Listek’s estate and Michael Listek’s heirs.

2. At and prior to the time of his death, Michael Listek was a resident of San

   Joaquin County, State of California.

3. O. Pete Council, MD is a physician residing in and practicing in Sidney,

   Montana. At all times described herein, Dr. Council was acting as an

   emergency room physician at Sidney Health Center.

4. Sidney Health Center, (SHC) is a hospital located in Sidney, Montana. It

   owns and operates a pharmacy upon its premises. The licensed pharmacists

   who work there are employees of SHC.

5. The acts and omissions complained of herein all occurred in Sidney

   Montana.

                                 JURISDICTION

6. The amount in controversy exceeds $75,000 exclusive of interests and costs.

7. All conditions precedent to the filing of this claim, including the filing and

   processing of a claim before the Montana Medical Legal Panel, have been

   met.

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8. This court has jurisdiction pursuant to 28 U.S.C. §1332.

                      FACTS COMMON TO ALL COUNTS

9.    At about 6:30 a.m. on November 29, 2008, Dr. Council prescribed

     valium, Percocet and 75 mcg Fentanyl patches for treatment of acute pain

     that Michael Listek was experiencing as a result of rib fractures he had

     sustained on November 27.

10. Fentanyl is a powerful opiate approximately 80 times more powerful than

     morphine.

11. At the time Dr. Council prescribed these medications, Michael had not

     been on opiates for more than a week and was therefore not opiate tolerant.

12. Prescribing Fentanyl for acute pain, either alone but especially in

     combination with these other medications in a patient who is not opiate

     tolerant is absolutely contraindicated.

13. The medications described herein were dispensed by a licensed pharmacist

     employed by SHC.

14. Licensed Montana pharmacists have duties under Montana law to conduct

     prospective drug review of each prescription drug order presented for

     dispensing and, when necessary, to take appropriate steps to protect the

     safety of patients.

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15. As of the date that these medications were prescribed and filled, Michael

   Listek was also taking Effexor and Flexaril. Both Dr. Council and the

   SHC pharmacist were aware of this at the time the medications were

   prescribed and dispensed.

16. As a result of the drugs prescribed by Dr. Council and dispensed by SHC,

   Michael Listek experienced respiratory depression followed by

   cardiopulmonary arrest in the evening hours of November 29, 2008. He

   died at SHC at 9:42 p.m. on that day.

                                 COUNT ONE

                    Negligence/malpractice of Dr. Council

17. Dr. Council deviated from accepted standards of medical care by

   prescribing these medications in a patient who was not opiate tolerant.

18. Having chosen to prescribe the medications as he did, Dr. Council further

   deviated from accepted standards of medical care by failing to admit

   Michael Listek to the hospital for monitoring of the effects of these

   medications until it became clear that he would not experience a life

   threatening respiratory depression.

19. These deviations from accepted standards of medical care amount to

   negligence.

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20. Dr. Council knew that the drugs in the amounts and combinations

   prescribed by him were against the advice of the FDA and were otherwise

   contraindicated by reason of the danger of life threatening respiratory arrest

   posed thereby. By failing to arrange to monitor Michael Listek by admitting

   him to the hospital, Dr. Council deliberately proceeded to act in conscious

   disregard of the high probability of injury to Michael Listek.

21. The acts and omissions of Dr. Council were a cause of the death of

   Michael Listek and the injuries and damages suffered by him, his estate and

   his heirs.

                                  COUNT TWO

                 Negligence of SHC/vicarious liability of SHC

22. The licensed SHC pharmacist who dispensed these drugs to Michael

   Listek deviated from accepted standards of pharmacy care by failing to take

   appropriate steps to protect the safety of Michael Listek.

23. These deviations from accepted standards of pharmacy care amount to

   negligence.

24. SHC is vicariously liable for the acts and omissions of its pharmacist.

25. At all times herein mentioned, Dr. Council was acting in his capacity as a

   SHC emergency physician and was either an actual or ostensible agent of

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   SHC. By reason of this agency relationship, SHC is liable for the acts of

   Dr. Council.

26. The acts and omissions of SHC and its pharmacist were a cause of the

   death of Michael Listek and the injuries and damages suffered by him, his

   estate and his heirs.

                                     DAMAGES

27. Following the negligent acts of Dr. Council and SHC, Michael Listek

   survived for and experienced conscious suffering and fright for an

   appreciable period of time preceding his death.

28. He and his estate suffered a loss of his lifetime earnings as a result of his

   death and have incurred the expense of his funeral and other related costs.

29. His heirs, which include his father, his mother and his sister, experienced

   grief and sorrow as well as the loss of the care comfort companionship,

   society and advice and support of Michael Listek.


WHEREFORE, the Plaintiff demands judgment against the Defendants as

follows:

       A. For all past and future general and special damages and exemplary
           damages to which the Plaintiff and those that he represents are



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   entitled by law to recover under the circumstances, in amounts to be
   determined herein;
C. For Plaintiff’s costs of suit; and,
D. For such other and further relief as the Court may deem just and
    equitable under the circumstances.


DATED this 23rd day of April, 2012.


                                       /s/
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